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                                                              U.S. Department of Justice

                                                              MATTHEW M. GRAVES
                                                              United States Attorney

                                                              District of Columbia


                                                              Judiciary Center
                                                              555 Fourth St., N.W.
                                                              Washington, D.C. 20530


                                                           February 22, 2022


Brandon Fellows
Inmate #377943
1901 D Street SE
Washington, DC 20003


        Re:     Pro Se Discovery 6 in United States v. Brandon Fellows
                Case No. 21-cr-83 TNM
Mr. Fellows:

        Enclosed you will find a memorandum regarding the status of discovery as of February 9, 2022.
Also enclosed is a motion requesting to file under seal an exhibit intended to be filed in the court directed
response to your pro se motion regarding access to court violations. The order directing the government
to respond is also included. Finally, enclosed is a notice of discovery that will be filed in the court on
February 22, 2022 outlining what discovery has been provided to both your standby counsel and you.

        The Government will continue to provide individual discovery as it becomes available in addition
to any future global discovery that you are allowed to view without supervision. If you have any
questions, please feel free to contact me at mona.furst@usdoj.gov or 316-269-6537.

                                                           Sincerely,

                                                           /s/ Mona Lee M. Furst
                                                           Mona Lee M. Furst
                                                           Assistant United States Attorney
Enclosure(s)
cc: Joseph R. Conte
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